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     7

     8
                                       UNITED STATES DISTRICT COURT
     9
                                       EASTERN DISTRICT OF CALIFORNIA
    10

    11   VIDEO GAMING TECHNOLOGIES, INC.,                 Case No: 2:08-CV-01241 JAM EFB
    12   dba, VGT, Inc., a Tennessee Corporation;         “CORRECTED”
         UNITED CEREBRAL PALSY OF GREATER                 TEMPORARY RESTRAINING ORDER
    13   SACRAMENTO, a California Non-Profit              AND ORDER TO SHOW CAUSE RE
         Corporation; WIND Youth Services, a              PRELIMINARY INJUNCTION
    14   California Non-Profit Corporation; ROBERT
         FOSS, an individual; JOAN SEBASTIANI, an           ASSIGNED FOR ALL PURPOSES TO:
    15   individual,                                             HON. JOHN A. MENDEZ

    16                   Plaintiff,                       Date:
                                                          Time:
    17           vs.                                      Courtroom:
    18
         BUREAU OF GAMBLING CONTROL, a law
    19   enforcement division of the California
         Department of Justice; MATHEW J.
    20   CAMPOY, in his official capacity as the Acting
         Chief of the Bureau of Gambling Control,
    21
                         Defendant.
    22
         and
    23
         CAPITAL BINGO, INC., a California
    24
         Corporation; HAGGIN GRANT POST NO.
    25   521, THE AMERICAN LEGION
         DEPARTMENT OF CALIFORNIA, a
    26   California Non-Profit Corporation; CASA
         ROBLE HIGH SCHOOL RAMSEMEN, INC., a
    27   California Non-Profit Corporation; MARY
         BROWN, an individual,
    28
                         Intervenors

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            TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
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     1           This matter is before this Court on Plaintiffs’ Motion for Temporary Restraining Order

     2   and to Show Cause Re Preliminary Injunction (“TRO Motion”), following the Order by the Court

     3   of Appeal vacating the previously-issued preliminary injunction and remanding to this Court.

     4   The Court, having reviewed and fully considered all of the evidence and briefs submitted and

     5   oral arguments made before the Court issued is Order Granting the Preliminary Injunction and

     6   after having reviewed Plaintiffs’ TRO Motion and its supporting papers, the Court finds as

     7   follows:

     8           (1)     The Court has jurisdiction to adjudicate this matter. The proscriptions of Title II of

     9   the Americans with Disabilities Act, 42 U.S.C. §§ 12131-65, apply to state laws and
    10   ordinances. See Bay Area Addiction Research and Treatment, Inc. v. City of Antioch,
    11   179 F.3d 725, 730-32 (9th Cir. 1999); see also South Dakota Farm Bureau v. Hazeltine,

    12   202 F.Supp.2d 1020 (D.S.D. 2002); Crowder v. Kitagawa, 81 F.3d 1480, 1483 (9th Cir. 1986).

    13           (2)     Plaintiffs have a likelihood of success on the merits of their claims because it

    14   appears that to preclude the use of electronic bingo machines discriminates against disabled

    15   individuals in violation of the federal Americans with Disabilities Act.

    16           (3)     The balance of hardships weighs in favor of Plaintiffs. If injunctive relief is not

    17   granted and the Bureau seizes the electronic bingo machines at issue and shuts down bingo

    18   facilities using electronic bingo machines, Plaintiffs will be irreparably harmed as follows: the

    19   charitable organization Plaintiffs would suffer a severe reduction in revenue and a resulting
    20   decrease in their ability to deliver social services; Plaintiff Capital Bingo would suffer a

    21   dramatic loss of income and the individual disabled Plaintiffs would lose their freedom to

    22   engage in this form of entertainment on an equal footing with their non-disabled peers.

    23           (4)     No imminent harm will befall the defendants or the citizens of California if

    24   injunctive relief is granted and the defendants are not permitted to immediately enforce the

    25   provisions of S.B. 1369 restricting the use of electronic bingo devices.

    26           (5)     The public interest favors granting injunctive relief and maintaining the status quo

    27   to allow bingo facilities to continue to provide revenue to charitable organizations. It is further

    28   ///


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      1   in the public interest to ensure that disabled persons have access to the same services as
      2   non-disabled persons pending resolution of the merits of Plaintiffs’ case.
      3          Accordingly, IT IS HEREBY ORDERED that a temporary restraining order is entered,
      4   effective as of April 6, 2009, restraining and enjoining Defendants and any other person and/or
      5   entity or agency acting in concert or participation with them (including, but not limited to, the
      6   California Attorney General and any other division or bureau of the California Department of
      7   Justice and the Sacramento County Sheriff), from taking enforcement action in any manner
      8   (including, but not limited to, seizing the electronic bingo machines at issue in this case,
      9   commencing criminal prosecutions, and halting the play of charitable bingo through electronic
     10   bingo machines) that were in operation on March 24, 2009. No bond is required.
     11          IT IS FURTHER ORDERED that Defendants shall appear before Judge John A.
     12   Mendez, in Courtroom 6, of the United States District Court, Eastern District of California,
     13   located at 501 I Street, Sacramento, CA, on April 14, 2009 at 1:30 P.M., or as soon thereafter
     14   as the matter may be heard, and show cause why a preliminary injunction should not issue
     15   during the pendency of this action restraining and enjoining Defendants and any other person
     16   and/or entity or agency acting in concert or participation with them (including, but not limited to,
     17   the California Attorney General and any other division or bureau of the California Department
     18   of Justice and the Sacramento County Sheriff), from taking enforcement action in any manner
     19   (including, but not limited to, seizing the electronic bingo machines at issue in this case,
     20   commencing criminal prosecutions, and halting the play of charitable bingo through electronic
     21   bingo machines) that were in operation on March 24, 2009. Any response or opposition to this
     22   Order to Show Cause shall be filed no later than April 10, 2009. Any reply brief shall be filed
     23   no later than April 13, 2009.
     24          Memoranda of law in opposition to or in support of this Order to Show Cause, and reply
     25   memoranda are limited to fifteen (15) pages.
     26          IT IS SO ORDERED.
     27

     28   Dated: April 7, 2009                                     /s/ John A. Mendez______
                                                                     U. S. DISTRICT JUDGE

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            TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION
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